   1   Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 1 of 49
   AO 243(Rev.0)/15)
                                                                                                                                                                                     Page2
                          M OTION UNDER 28 U S.
                                              C.j2255TO VACATE,SET ASIDE,OR CORRECT
                                                          .


                                       SENTEN CE BY A PERSON JN FEDEM L CUSTODY
   United StatesD istrictCourt                                       Distlict
   llanae (unde'.lvh/cz.)z
                         tm bb
                             ,et.
                                ve.
                                  o,;k,kverp:                                                                                   Docke'
                                                                                                                                     torCase L
                                                                                                                                             S o.
      ROGERIO CHAVES SCOTTON                                                                                                                     :
  Place ofCons                                                                                                                   1260049
                    nement:                                                                  PrisonerN o.:
     D . DAY JAMES C . F .                                                                    99370 -
  UN ITED STATES OF AM ERIC                                                                              004
                                             A                       ROGERI
                                                                                          M ovant(includenameunder,ù,
                                                                                                                    >fc4vonvicledl
                                                                                      O CHAVES SCOTTON


                                                 M 9TTQX                          -   - .- -                                                           - -


          (a)NameandlocationofconrtwhichenteredtheJudgmentofconviction ou -g:a-
                                                                              =)lé''-'oa,
                                                                                        '                                ..                                                .. 't- ,t
                                                                          xi
                                                                           ..                                                 .- - ...
                                                                                                                                     .-'                 .=       .
              SOUTHERN DISTRICT OF FLORIDA                                                                          !                                                                  2
                                                                                                                    t
                                                                                                                    .                                                 .                 ;
                                                                                                                    k                                             .''.>                 '
                                                                                                                    t                                             r. ;'                 '
                                                                                                                                                                                        .
                                                                                                                    t.
                                                                                                                     t                                                                  .i
                .'   .,

         (b)Cnmlnaldockelorcasenumber(ifyouknowl;1260049                                                            t                      '
                                                                                                                                           -. .
                                                                                                                                               .   . s

                                                                                                                                                   ,      .
                                                                                                                                                              '
                                                                                                                                                                  ).
                                                                                                                                                                  .
                                                                                                                                                                      ï
                                                                                                                                                                      ,
                                                                                                                                                                   . .:
                                                                                                                                                                                        !
                                                                                                                                                                                        L
                                                                                                                                                                                        i
                                                                                                                                                                          . ,.-- ....,..,,

   2. (a)Dateofthejudgm entofconvfction (ifyou knowl: FD RUADY Af 20 14
                                                                 a. .                                 -        . . .

      (b)Dateofsenlencing: MAY 9q 2q1.4.....-.-- . .- .             . ... .   -   .             - .       -.    -


         Length ofsentence: 108 MONTHS

        Natureofcrime(allcounts):
         18 U.S.C. 5 1341 MAIL FRAUD, AND 18 U.S.C. 5 1001(a)(2) FALSE
        ST
            ATEMENT




       (a)Whatwasyourplea? (Checkone)
           ()) NotguiJty x            (2) Guilty                                                  (3) Nolocontendere(nocontesl)
       (b)lfyouentered aguiltypleatoonecounlorindictment, and anotguilty pleato anothercountor
       whaldidyou plead guilty to and whatdid you plead notguilty to?


                                                              N/A



6. lfyou wenllo trial. whatkindoflria)didyouhave? (Check one)                                         Jul'
                                                                                                         y X                               Judge only
    Did you lestify ala pretrialhearing, trfal,orpost-llialhearing?                            Yes
                                                                                                                                           No1
8. Didyouappealfrom thejudgmentofconviclion?                             Yes X                            No
    t   Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 2 of 49
    AO J43(Rev.01/15)
                                                                                                                                                                                    Page-:

         9. Jfyou did apptal, answ erthefollowing:
              (a) Nameofcourt: ELEVENTH CIRCUIT
             (b) Docketorcasenumber(ifyonkncwl: 14-1%228            .              . .- - .. ,.........- -   - --- .- ... - ... ,.             .

             (c)Result: AFFIRM                                          .. .       .. . . ,. ... , - ..- . - ..- .- ......,..        . .,

            (d) Dateofresult(ifyouknowl: AP.
                                           ..RIL 12.z R9. 1-.
                                                            6--- -- ---.          ....                                               -- .. .

            (e)Cilationtothecase(ifyouknowl:     qqknrm .w .-..-. ......-.-.-..
                                                                             .                                                       .-

            (9 Groundsraised:
                -1) JIIRY -ISSUE .
                 2 ) SPREADSHEETS VIOLATION
                 3) MOTION FOR MISTRIAL
2                   4 ) WRONGFULLX ppss R oqN'
                                             l!.                        .        .. - . -




           (g)Didyou fileapetition forcertiorariintheUnited StatesSupremeCourt?                                                                    Ycs                No
              lf'$Yes,''answ erthefollowingl
              (1)Docketorcasenumber(ifyouknow): 16-.
                                                   :7-
                                                     4.
                                                      9 .-          - . ..                                   ... .    .

              (2)Result: DENTED    , .-




              (3)Dateofresult(ifyouknow): D ECE# .ER 12.
                                                .- .       s 20J-6.-
                                                       . . ... ..                              - .                   . -   .

              (4)Citation tothecase(ifyouànow): !!qF-?.
                                                      E9.-    --.-
                                                            . ..                                                ..-        .. . ..

              (5)Groundsraised:
                         SAME ON THE APPEAL IN FRON ELEVENTH CIRCUIT
                                                                                                                                                    .




10. Otherthan the directappeals listed above, haveyou previously filed any othermotions
                                                                                                                                                    ,   petitions,orapplications,
        concelmin thisjtld mentofconviction inany court?
         Yes X          No

        lfyouranswertoQuestion 10 was.tYes,''give thefollow ing inform ation:
        (a) (JlNameofcoun: SOUTHERN DISTRTCT COURT , ELEVENTH CIRCUIT , SUPREME COURT
            (2)Docketorcasenumber(ifyouknow): to m#ny motion , see docket
           (3)Date offiling (ifyou know): DIFFERENT MOTIONS

         (4) Nattlreoftheproceeding: RULES 33 (b ) NEW TRIAL .
         (5) Gl'oundsraised:
                             PLEASE SEE MEMolzaxouM
          k
              Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 3 of 49
          AO 243(Rev.0)/)5)
                                                                                                                                 Page4




                    (6) D idyou recefve
                              yesD           heaiingw hereevidence wasgiven on yourm otion petitîon,orapplicatjon?
                                            aNo                                              ,



                     (7) Result:DENIED WITHOUT ANY EXPLANATION FROM THE COURT .
-                    (8) Dateofl'esult(ifyouknow): SEE DOCKET CASE
                                   ----..   .     C.D-:LL.
                                                -.. -.-..   .- --
                (b)lfyoufiledanysecondmotion, petition,orapplication, givethe sam e infol-mation:ot .



                      l---Name'ofcourt: seE cAse Docx                              ---
                    (2) Docketofcasenumber(ifyouknowl: MORE THAN 59 MOTIONS WAS FI
                   (3) D                                                                          LED
                           ateof5ling(ifyouknow):
                   (4) Namreoftheproceeding:
                  (5) Groundsraised:




                (6) Did youreceiveahearing whereevidencewasgiven on yourymotion,petition
                                                                          , orappl
                                                                                 ication?
                       Yes           No X
                    Resun:       DENIED WITHOUT ANY EXPLANATION FROM THE COURT
               (8) Dateofresult(ifyouknow):
           (c) Didyou appealto afederalappellatecourthavingjurisdiction overthe action taken on yourm otion
           or                                                                                                    ,   petition,
             application?
               (1) Firstpetilion;      Yes X        No
              (2) Secondpetition:      Yes X        No
          (d) lfyoudid notappealfrom theactionon any motion petition,orapplication
                                                           ,                           ,   explain brief)y why you did ntg:




    12. Forlhis m otion, state every ground on w bichyou claim thalyou arebeing held in
        laws, ortrealiesof1he United Stales.                                            violation oftheConstitution,
        supponing each ground.
                                              Altach additionalpages iîyou havem ore than fourgrounds.State1he fact  s

                              SEE DOCKET
 Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 4 of 49
AO 24,
     3(RcA'
          .f))/l5)
G RO UND ONE: wHETER MR . scoTToN 's DENIAL OF EFFECTIVE ASSISTANCE B
AN ATTORNEY DURING PRETXIAL VIOLATED HIS CONSTITUT                   Y
                                                      TONAL RTGHTS.
          (a) Suppol-tingfacts(Donotargueorcîtelaw Juststale thespecificfactsthalsuppol-tyourclaim
                                                      .
              NO O                                                                               . );
           NE ATTORNEY HAS DONE ANY PREPKAKATION FOR
NO WITNESS TNTERVIEW                                  TRIAL , NO NVESTIGATTON
                     , NO DISCOVERE OR EVIDENCE REVIEWED
                                                                                         .


                             (PLEASE SEE MEMORANDUM OF LAW )




    (b) DirectAppealofGround One:
      .



          (l) lfyouappealedfrornthejudgmentofconviction, did youraise thisissue?
                     Yes         No
          (2) lfyoudidnotraisethisissueinyourdirectappeal, explain why:
                     APPEAL ATTORNEY FAILED TO INCLUDE IN THE B
                     REQUESTED BY THE PETITION                 RIEF APPEAL AS WAS
                                              ER .
          Post-conviction Proceedings:
              D id you raise thisissuein any post-conviction m otion,petition
                                                                             . orappl
                                                                                    ication?
                 Yes             No X
      (2) lfyou answertoQuestion (c)(1)is'.Yes,''stale:
      Typeofmotion orpetition: x/A
      Nam e and location ofthe couj'twhere the m otion orpetition wasfiled:


     Dockelorcasenumber(ifyouknow):
     Dateofthecourt'sdecisiom:    N/A
     Resull(attach acopy ofthe court'sopinion ororder
                                                          .   ifavailable):


           Did yon receiveahearing on yourm otion, petition,orapplication?
               Yes           No
           D id you appealfrom 1he denialofyour motion pelition,orapplicalion?
                                                          ,
              Yes            No x
           ll-youranswertoQueslion(c)(4)fs''Yes,''did you raisethe issue in lheappeal'?
              Y es          No x
   Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 5 of 49
  AO 2.
      13(Rev.01/15)
                                                                                                                   Paî.
                                                                                                                      6
              (6) IfyouransweztoQuestion(c)(4)isttYes,''stale;
             Nam eand lpcation oftl
                                  ae cou14 where theappealwasfiIed:


             Docketorcasenumber(ifyouknow):
            Dateofthe court'sdecïsion;
            R                             x/a
             esull(attachacopyofthecourt'sopinion ororder,
                                                           ifavailable):


                 lfyouranswertoQuestion(c)(4)orQuestion(c)(5)is'tNo,''ezplain why you did notappealorrais
                                                                                                          ethis
                                  APPEAL ATTORNEY FATLED TO .APPEAT. A S
                                                                      .
                                                                         WAS-             ..
                                                                                                          .




G RO UN D T1VO: WHETHER APPEAL
                                 ATTORNEY INEFFECTIVENESS AND
          PREVENTED.MV .'''SCOTYUN PROM
                                      . DUBMITTED VALID       CONFLICT OF INTERIST
       APPEALS Q EVIEW                                    CLAIMS FOR THE COURT '
                             VIOLATED HIS CONSTITUTIONAL RI
                                                                                                              '-

                             .,
     (a) Supportingfacts(Donotargueorcitelaw.              GHTS AND HM PXYYMS RI*
                                                   Juststate the specificfactsthatsupportyour                      .
                                                                                               claim.):
          IN THE EARLY STAGE OF THE AP
          TO FILE MOTION FOR RELEASE A PEAL, THE PETITIONER ASKED HTS ATTORNEY
          DURING TRIAL THAT VIOLATED H S WELL NUMEROUS ISSUES THAT OCCURRED
          TO DO SO AND CONSEQUENTLY HEIS  SUBSTANTIAL RIGHTS . THE ATTORNEY FAILEI
                                        VIOL
                                            ATED THE PETITIONER RIGHTS
                           (PLEASE SEE THE MEMORANDUM)                                               .




  (b) Dil-ectAppealofGround Tw0:
      ()) lfyouappealedfrom thejudgmentofconviction, did yotlraise lhjsïssue'?
              Yes           No




     (2) lfyoudidnotraiselhisissueinyourdireclappeal,explain why:
          I DIDN 'T EXPECTED THAT MY AP
       VIOLATIONS .                    PEAL ATTORNEY WOULD ENGAGE IN SUCH

    Post-conviction Proceedings:
         D id you raisetbisissuein any post- conviction nlotion
                                                               , pcl
                                                                   ilion-orapplicalion?
            Y es           No X
        Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 6 of 49
      AO .
         243 (Rrv.01/15)
                                                                                                                Pah!e7
                  (2) 1îyonanswerto Question (c)(;)is''Yes,''state:
                  Typeofmotîon orpetition:             N/A
                  Nanne and location ofthe couq'
                                               twherethemotion orpetition wasj51ed'.


                 Docketorcasenumber(ifyou knowl:
                 Daleofthecourt'sdecision:       *f*
                 Result(attach acopy ofthecourt'sopinionororder, ifavailable):



                       Did you receivea hearing on yourmotion, petition,orapplication?
                           Yes         No x
                (4) Didjl:uày#ëàl'
                                 f#om -e7-dFli
                                             1z1o yourmèliojj-
                                                             ,-
                                                              pttition,orapplication?
                           Yes         No
                (5) IfyouranswertoQuestion (c)(4)is'ç
                                                    Yes,''dfdyouraisetheissueintheappeal?
                           Yes         No x
               (6) Ifyouranswerto Question (c)(4)is'tYes,''state;
               Nam eand location ofthe cou14 wheretheappealw asfiled:
                            N/A
               Docketorcasenumber(ifyouknow):
              Date ofthe court's decision:
                                                        u;x
              Result(attachacopyofthecourt'sûpinionororder, ifavailable):



              (7) lfyouranswerto Question (c)(4)orQuestion(c)(5)is''No,''explain why you did notappealorraisethis
              issue:
                            I WOULD NEVER EXPECTED THAT T
GAINST ME .                                                           He AzToRxsy wILL TuRxso




  G RO UND TH REE:


       (a) Supportingfacts(Donotargueorcitelaw.Justslalelhespecifscfbctsthalsupportyourclaim ):  .




                                                  N/a
  Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 7 of 49
AO 2/3(Rcv.01/15)
                                                                                      PageF




      (b) DirectAppealofGrûund Thret:
          ()) lfyouappealedfrom thejudpnentofconviction, did you raisethfsissue?
                     Y es        No x
          (2) lfyoudidnotraisethisissueinyourdirectappea), explain why:



     (c) Post-coùVlè-ilon rocee lngs: ----' '
        (1) Didyouraisethisissueinanypost-convictionmotion, petition,orapplicalion?
                    Y es      No
        (2) lfyouanswerto Question(c)(1)is1'Yes,'' state:
        Type ofm otion orpetition'
                                 .
                                             n/A
        Name and location ofthe courlwhere them otion orpetition wasfiled:


       Docketorcasenumber(ifyouknow):
       Date ofthe court's decision'
                                  .        a/a
       Result(attach a copv ofthe court'soninion ororder. ifavailable):



      (3) Did you receiveahearingon yourmotion, petitîon,orapplication?
               Y es         No
      (4) Didyou appealfi-om thedenialofyourmotiona petilion,orapplication?
               Yes          No
     (5) lfyouranswertoQuestion(c)(4)is'tYes,''did you raisetheissue in the appeal'
                                                                                  ?
              Yes           No


     (6) lfyouranswertoQuestion(c)(4)ise'Yes,''slale:
    Nam e and location ofthe coun where the aooealwas filed:
                        n/a
    Docketorcasenumber(ifyouknowl:
    Dateofthecoun'sdecision: n ja
    Result(attach acopv ofllle coud'sopinion ororder. ifavailablel:



                            n/a
.%   Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 8 of 49
A0 2z13 fRrv.01/15)
                                                                                                               Page9
              (7) lfyouranswerto Questjon(c)(4)orQuestion (c)(5)fs''No,''explafn why you did notappealorrajse tllis
             issue:



                                          n/a


GR O UND FO UR:
                              n/a
        (a) Supportingfacts(Dono1argueorcitelaw Juststate tbe specificfactsthalsupportyourclaim
                                                  .
                                                                                                ):.




                       n/a




      (b) DirectAppealofGreund Four;
          (1) lfyouappealedfrom thejudgmentofconviclion, did you raisethisissne?
                 Yes             No x
         (2) 1f'youdidnotrajsethisissueinyourdirectappeal. explain why:

           n/s
     (c) Post-convirtion Proceedings:
         (1) Did yoaraisethisissuei'
                                   nanypost-conviction motion petition,orapplication?
                                                               .

               Yes               No


       (2) lfyouanswer1ûQueslion(c)())isteYes,-'State:
       Typeofrnotion orpetition:
       Nam e and location ofthe courtwhere the motion o
                                                      rpetiîionwas('
                                                                   çed.
                                                                      '
                    n/a )(jjyouknowl:
       Docke!orcasenumbe     .



      Date ofthecoun'sdecision:
      Result(attachacopy ofthecoul
                                 4'sopinion ororder ifavailablel:
                                                      .
     Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 9 of 49
  AO 24)(Rev.01/)5)
                     (3) Dfdyou receivea hearing on yourmotion                                                  Page$(
                                                              , pel
                                                                  ilion,or application?
                            Yes           No
                    (4) Didyouappealfrom the denia)ofyourmotion,pelition,orapplication?
                           Yes            No
                    (5) jfyonranswertoQuestion (c)(4)is''Yes,''did you raisethe issuein theappeal?
                           Yes            No X
                   (6) lfyouranswertoQuestion (c)(4)is-'Yes,'' slate:
                   Nam e and location ofthecourlwhere theappealwasf5led:

                                          n/a
                   Docketorcasenumber(ifyouknow):
                   Date ofthecoull'sdecision:
     '   '    ''
               Resull-txtrll
                           zln--c-
                                 o-p-y-o-
                                        f-tbkcourt*sopinionororder, ffavzilà'
                                                                            b-le):           ---
                                                 n/a
              (7) lfyouranswertoQuestion(c)(4)orQuestion(c)(5)ist'
                                                                 No.'' explain why you did notappealorraisethis
              issue:

                                    n/a




13. lstbete any ground in thism otion thatyou h
    ground orgroundshave notb                  ave notprevfously presented in som efederalcoul-t? lfso, which
                                een presented,and state yourreasonsfornotpresenting them :




             n/a




   Do you have any motion, petition,orappealnow nendinc(filedandno!decidedyet)in anycourtforthe
   you are challenging?         Y es             No
   Jfe'Yes,''state thenam e and location oftlne court the dockeîo1'casenumber
   i                                                ,                        ,t
                                                                              hetype ofproceeding, and the
    ssuesraised.         PLEASEE THE DOCKET
                                                          .
    Case
    AO      0:17-cv-62428-KMW
       245(Rev.01/15)         Document 1 Entered on FLSD Docket 12/11/2017 Page 10 of 49
      l5. Give the nam eand address, ifknown,ofeach atlolmey who represenledyou in th
          you are challenging:                                                       e followirg stagesofthe
           (a) Atthepreliminaryhearjng: F'
                                         READMAN

          (b)A1thearraignm enlandplea:
                                            N/A

          (c) Atthetzial: PRO SE

         (d)Atsentencing: aAsoyt7KREISS         '
                                                ..




         (e) On appeal;RlcllR p KLUCH
              7 7.7'' '
        (9 ln any post-convlction proceeding:
               N/#
        (g)Onappealfrom anyrulingagainstyouinapostconviction proceeding'
                                                           -
                                                                                .



                          PRO SE

  16. W ere you sentenced on m ore than onccourtofan indictm ent
      and atthesam e tim e?                                    , oron m oret
                                                                           han oneindictm enl, in the sam e court
                                      Y es X      No

      Do you haveany future sentenceto serve aft
      challenging?          Yes            No X
                                               er oucomplele1hesentenceforthejudgmentthatyonare
      (a) lfso,givenameandlocatjonofcourlthatimposed1heothersentence you willservein thefuture:
                              N/a

      (b) Givethedatetheolhersenlencewasimposed:
     (c) Givethelengthoftheothersenlence: N/A
     (d)Haveyoufiled,ordoyouplantofile any motinn,petition,orapplication thatchallengesthejudgmentor
                                            .

     sentence to be served in the future?            Yes       No x


13. TIM ELJN ESS O F M O TION :lf'yo
                                      urju
    why the one-yearstatm eoflim italions dgmentofconviclion becamefinalover(meyearago, you m ustexplain
                                         ascontained in 28 U.S .   C.j2255 doesnotbaryourmotion *
                                                                                                .


              THIS SECTION 2255 IS TIMELY FI
              BECAME FINAL                   LED AS THE PETTTIONER CONVICTION
                           ON DECEMBER 12 , 2016.
AOCase
    13(Re0:17-cv-62428-KMW
   2.
    :    v.0J/15)          Document 1 Entered on FLSD Docket 12/11/2017 Page 11 of 49
                                                                                                           Page12




*TheAntitenorism and EffectiveDeathPenalty Actof 1996 ('tAEDPA'')ascontained in 28 U .S
paragraph6,                                                                             C.j2255,
                                                                                            .
           providesin?a14lhal:
  A one-yearperiod ofllm ilatior shal)apply to a m otion urderthi
  f                                                             ssection. Thelimitation period shallrun
  rom the latestof-
      (1) thedateonwhicht))ejtldgmenlofconvictionbecamefinal;
     (2)Const
     the  thedateionwhfchthefmpedimenttomakingamotioncreatedbygovemmentalaction in violation of
             itut
                   on orlawsofthe Uniled States isrem oved, ifthe m ovantwasprevented from making such a
     m otion by such gove,mlmentalacljon;
    (3) thedateon whichtherightassencdwasinitially recognizedbytheSupreme Coun,ifthatrighthas
    been new ly recognized by the Suprcm cCourtand m aderetroactively applicable to caseson collateral
    review ;or
    (
    t4)ough
    hr   theth
             dateon whichthefactssupporlinglheclaim orclaimspresented couldhavebeen discovered
              e exercise ofdue dilfgence.
     Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 12 of 49
    AO 243(Rev.01/15)
    Theref01-e.m ovantasks1l)n11he Coull:1-al111l1e followinz relief: to vac
 sent this case for a new trl                                                ated the conviction and
                                             al. The Petitioner also re
 pending the resolution of this 5 2255 to avoid make this                         guested tonug
                                                                                     appeal  be release
 and Forthless .                                                                               atory
   o1'any otherreliefto which m ovantmay be entitled.
       RE-SENTENCE TO A TIME SERVED
                                                 AND RELEASE WITHOUT ANY DEALY
                                                                                                                       .




                                                                   SignatureofAttomty (ifany)


  Ideclare(orcertify,verifl
                          y,orstaîe)underpenaltyofpeljurythattheforegoing ist'rueand con-ectandthatthisM otion
  '
  underzs-uf.c.5 1255wasplacedinlheprisonm ailing-systenron    -   --   -
                                                                                                                           ' '- ''- -
                                                                                                                                        - - c-
                                                                                        (month,date,year)


 Executed(sfgned)on y - m g< 'Zxz a w.')                       td
                                                                   ate) yayyy x.a;'>
                                                      -                     --..- ww.-e.V7        xA.A 'X
                                                                             )g
                                                                              ,-
                                                                               ,              z
                                                                                              *
                                                                                             .,
                                                                                                  >         ''Q' '''

                                                                   ri
                                                                    v ,Q -..Z<w, zt
                                                                                  ,//,/
                                                                  1g j oj       am
                                                                ROG RIO CHAVES SCOTTON
lf                                                             REG NO z 99370-004
  theperson signing isnotmovant, slate relationship to movantand explain why movantisnotsi
                                                                                         gning thismotion                          .
    Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 13 of 49



                             UNITED STATES DTSTRICT COURT
                                        IN THE
                             SOUTHERN DISTRICT OF FLORIDA



ROGERIO CHAVES SCOTTON ,                             CASE NO I 1260049
       PETITIONER ,


          y@



UNITED STATES OF AMERICA ,
       RESPONDENT,                  /


              PETITIONER MOTION TO VACATE      SET ASIDE THE CONVICTION OR
                  TO CORRECT SENTENCE PURIUANT TO 28 U.S.C. 5 2255.


     Comes now , the Petitioner Rogerio Chaves Scotton, by and through
pro se, respectfully moves this Honorable Court with the motion to vacate,

set aside the conviction or to correct the sentencing pursuant to 28 U .S.C.

5 2255. In support of his motion, the Petitioner states as follows:


                                INTRODUCTION



      On March 8, 2012, an indictment was lodged against the Petitioner

Rogerio Chaves Scotton , a Boca Raton businessman and professional interna-
tional race    car driver , charging him with the alleged offense of mail

fraud pursuant to      U.S.C. 5 1341.
     On June        2013, a superseding criminal indictment was filed by




                                        (1)
        Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 14 of 49

 the government dismissing the original indictment
                                                   . Additional to the 26

 counts of mail fraud, the government added one more count of mail fraud
                                                                                         .

      On July 18, 2013, the Petitioner was charged with a se cond superseding
 indictment of twenty seven counts of maïl fraud pursuant to     U          .   S.C. 5
         and two counts of making false statements to a government a
                                                                            gency pursuant
 to 18 U.S.C. 5 1001(a)(2). Seey D . E .-94.
        On January 26, 2014 trial began , œ spite numerous times the Petitioner
 requested lawyer representation , he was denied after one Public Defendant

 and two-court appointed attorneys who did not provide the Petitioner with
 any meaningful legal assistance .
      On February 26, 2014, the Petitioner was convicted as charged , despite
 the fact that the jury informed the Court they had doubts on the second
 Superseding indictment which was based solely on manufactured
                                                               , unaudited
 and unverified spreadsheets accompanied by false and contradictory testimony
                                                                              .
     The Petitioner filed an appeal . However, due to conflict with the
Court appointed attorney , he was precluded from submitting substantial

elaims and evidence for the appeal Courts revi
                                              ew . Consequently, the appeal
Court affirmed the conviction on April 12 2016, after an unprecesented
                                                 ,

seven extensions made solely by the appeal attorney .
     On October 20# 2016, the Petitioner submitted a Petition for Writ
of Certiorari as a pro se which the Supreme Court denied on December
2016.

        Therefore, the Petitioner is hereby attempting to prove his innöcence

by timely submission of this 5 2255, in which he claims violate his contitu                  -


 tional rights and requesting this Court after meaningful review , to vacate

his conviction in the interests of justice .




                                             (2)
     Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 15 of 49

                                  GROUND ONE :



             WHETHER MR . SCOTTON 'S DENIAL OF EFFECTIVE ASSISTANCE BY
             AN ATTORNEY DURING PRETRIAL V TOLATED HIS CONSTITUTIONAL
                                    RIGHTS .


       The Petitioner corltends that he was denied the right to bail and

consequently was denied the opportunity to research and retain a lawyer

of his choiee.

     With no other resource available , the Petitioner 's only option was to

accept the a ttorney appointed by the Court .
     Pretrial investigation and preparation are key to effective represen-

 tation by counsel. The attorneys appointed by the Court performed none
of those essential tasks . The Attorney did not interview or attempt to

interview a single person prior to trial . The attorneys failed to review

discovery and evidences . In fact, 6 of those discovery cd 's allegedly conta-

ining spreadsheets were found by the Petitioner himself during trial             to
                                                                             ,

be blank . Not one motion was filed by the Court appointed Attorneys on

the Petitioner ls behalf. His numerous substantial rights were ignored and

violated because the attorneys failed to interpret the law! and enforce

it. They have ignored the true facts and took the easy path in hand with
the prosecution .

     The Petitioner contends that he was denied the right to have effective
honest assistance from a lawyer, and consequently he was rendered no possi-

bility of professional defense as he was forced to represent him self .




                                        (3)
        Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 16 of 49

         PUBLIC DEFENDANT CHANTEL DOAKES


        On one occasion F .P .D. Doakes told the Petitioner that he should plead

 guilty because the government had a document that could link him to a specific

 package . This particular package was allegedly shipped from a bike store
 located in California to a city in Brazil . Ms . Doakes claimed that she had

 contacted the bike store to ask whether the store had done any business

 with the Petitioner. The store denied this . Ms . Doakes also Allegedly contactet
 the individual in Brazil who the store shipped the package to , yet the indi-

 vidual denied any such business with the Petitioner or even knowing of
him .

        After the Petitioner was provided with this information            he asked Ms.
                                                                       ,

Doakes whether she investigated how the bike store shipped the package to

Brazil and/or how the individual in Brazil had received such a package .
Ms. Doakes did not ask or conduct any further investigation into this matter .

She then insisted that the government had a way to link the package to Petiti-

oner and that Petitioner should plead guilty nevertheless to avoid à qhon: t'erm
of imprlsonment.
        The Petitioner also provided to Ms o Doarkes a sworn statement and video

of interview from Osvaine Duarte taken by Brazilian authorities . Duarte
was the third party shipping company used by the Petitioner . In the statement
and video Duarte clearly states his involvement in shipping of items to

Brazil. Ms . Doarkes failed to interview Osvaine Duarte despite the instruction

from the Petitioner . The record of this case clearly shows that Ms . Doakes
'did virtcaly        nothing to help the Petitioner .

        Recently, the Petitioner submitted an information affidavit to the office
of M s. Doarkes which she has thus far failed to respond to .
                                        -



     Subsequent to this further failure of proper investigation , the Petitionpr




                                            (4)
    Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 17 of 49


requested the Court to withdraw Ms . Chantel Doarkes as â/-Yo counsel .



     CJA ATTORNEY LANCE ARMISTROMG


    This particular attorney met with the Petitioner on only two occasions.

On each occasion he had no documents , legal pad or even a pen . He advised
the Petitioner to plead guilty based only on the federal conviction rake

being extremely high . During his second visitation at F .D .C . Miam i on ïsunday

afternoon , the Petitioner noticed as well as having no brief-case, pad or

pen , there was a strong smell of alcohol from him .

    The Petitioner requested the attorney for an investigator which the

attorney dismissed stating that he did not believe in investigators, and

that I should plead guilty because my case didn 't carry more than         years
in prison .

     The Petitioner asked the attorney who was given authorization to call

his relatives, to meet with him at an Apple bees restaurant in Hollywood.
The Petitioner also asked the attorney why he told the Petitioner 's family

to ask the Petitioner to plead guilty when he had not even n pioœd        any discovery

or evidence . The attorney had no response to this question!

     There is no       evidence or record that could show. that this attorney

had preparad for a trial . The Petitioner also submitted an information affidavit

to the attorney who failed to answer .

     Consequently to this inappropriate behavior from this attorney , the

Petitioner    filed a motion to withdraw the attorney.


     CJA ATTO RNEY ST UA RT AD ELSTE IN

     The first meeting was in Broward county jail in January 2013. The attorne;




                                          (5)
    Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 18 of 49


 introduced himself and advised the Petitioner that no motion for bail would

 be filed on his behalf as bail had already been denied . This was not the

 case as denial of bail was made conditional by the judge.
     On the second visitation to F .D .C . Miami, after spending more than an
 hour with another 7 different clients, the attorney spent 3 minutes w ith

 the Petitioner to inform him that he was presently inspecting the discovery

cds and would talk to the Petitioner the following week .

     In the following week , the same scenario occurred . After spending hours
with others clients, the attorney told the Petitioner that he had contacted

the government office to request the discovery information . This was despite

that the previous week he told the Petitioner that he was already inspecting

the discovery information .
     The Petitioner then asked the attorney          he had done anything w ith

his case and if he had interviewed any witnesses . The attorney had no response

The Petitioner than asked the attorney to file a motion for bail which he

denied then threatening the petitioner with a potential 20 years in prison

by refusing to plead guilty . The Petitioner requested the attorney to file

a motion to w ithdraw from the case . He then . told Petitioner he was looking

into the possibility of using a bail bond . Instead of filing a motion to
wlthdraw, the attorney sent Davis Rodriguez to the Petitioner 's m thers apart-

ment. Rodriguez took $16,000.00 from the Petitioner's Mpther with the promise
of securing a $100 .000.00 nebbia bond. Neither the motion to withdraw or
the nebbia bond was filed to Court for the Petitioner. The $16,000.00 was
never returned to the Petitioner là family .
     The Petitioner then filed a lawsuit against the attorney and a motion
to the Court to withdraw the attorney . The Petitioner 's sixth amendment

right was in this case seriously violated .




                                        (6)
     Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 19 of 49


      An information affidavit was also submitted to the office of Adelstein
 who has failed to respond .



      JASON KREISS-SENTENCE ATTORNEY

      During sentencing , the attorney complained to Court that he was instructet
by the Court not to review any discovery because he would not be compensated .
The Court the n told him this was not correct but that he was not to prepare

for trial .

      Therefore , the attorney never inspected any document, discovery cd 's

or the inaccurate spreadsheets which ultimately cost the Petitioner a high

sentence. Had the attorney investigated the accuracy of those spreadsheets

in detail or properly prepared for the sentence hearing , there is a substantial

possibility that the Petitioner would have received a much lower sentence
or a new trial .

     The Petitioner received ineffective assistance during his sentencing

and the attorney himself made the statement that he hx          not prepared for

sentence and had never reviewed the inaccuracy of those spreadsheets . The
Petttiober's constitutional rights to a fair and reasonable sentence wpre

v iolated . Yet, he was denied due process .

      Desp ite the false statements made by officials of the Court , the;record

of this case did not show any motlon or any           those tasks required by
law was conducted by any one those aktorpeys mentiqned above . In fact ,
aot one attorrtey          to those information affidavits    Submitted by the
Petitioner . The record of this case shows that the attorneys could not honestly

respond or ansWer to the affidavit. Hence, silent equate to true .
        We Stand by justice, then this conviction must be Vacated and the
case sent to a new trial .



                                       (7)
    Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 20 of 49

                                 GRO UND TWO :



    WHETHER APPEAL ATTORNEY INEFFECTIVENESS AND CONFLICT OF INTEREST
    PREVENTED MR . SCOTTON FROM SUBMITTING VALID CLAIMS FOR THE COURT
       APPEALS REVIEW , V IOLATES HIS CONSTITUTIONAL RIGHTS AND DUE
                                PROCESS RIGHTS .


   The Petitioner contends that his appeal attorney provided ineffective

assistance during the early stages of the direct appeal. In fact upon the

Court of appeals affirming the conviction , the Petitioner and his fam ily

requested from attorney Klugh a11 his case file , evidence and discovery
cds which the attorney claimed that he never had .

   After the Petitioner filed motion to compel the appeal attorney in D istri-

stric Court as well the Court of Appeals, attorney Klugh informed the Court

that he had found Mr . Scotton 's case files and discovery cds in another

office which he shared w ith other lawyers.

   The Petitioner contends that the appeal attorney provided ineffective

assistance and his ineffectiveness denied the Petitioner the opportunity
to prove his innocence. and subm it     numerous claims and violation which

    occurred during pretrial, trial and sentencing. Subsequently due l
                                                                     Eo the
attorneys lack of preparation and     failure to include'   numerous important

facts in the appeal brief, the Petitioner constitutional rights were violated .

Among the            ineffectiveness , the attorney failed to                 provide

to the Petitioner legal assistance including, (1) failur: to file a motion
to release pending appeal which the Petitioner requested oh many occasioné .
 The Petitloner tilen filed tne motion to release as
                                                     a pro ser in whlch 50th
Courts denied and mentioned that the Petitionek'has a laèfer and should
 ask him to do.          th
                           e attorney fasled to revlew the case file and eviden-

ce provided by the Petitioner which highlighted the inaccuracy of the spread

sheets , and failed to review the discovery cds ofwhich 6 wqre blank and did



                                        (8)
     Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 21 of 49

not contain       any verified business records;          he failed to includè

on the appeal brief as requested by the Petitioner, all BRADY violation 's

in the case, (4) failed to include        a11 due process violations,          he
failed to include, and request sentence correction pursuant to amendment

791 which should reducet two lèvelr in the Pêtitioherv' guideline , (6) he
failed to subm it   Y
                        a11 GIGLIO violations that occurred during pretrial ,

trial and sentence,          he failed to object     to the sentence enhancement,
which làeke evidence on the obstruction of justice and sophisticated meany,
and (8) he falied to dispute during the appeal, the indictment which fails
the requirement & f œ which the charges of mail fraud aa wrongfully lodged .

     THe Petitioner contends that this case displayed numerous errors and
violations which should have stopped the trial before it began . Other respe+
cted àttorneys informed the Petitioner and his family that his conviction

should be vacated due to those numerous errors and violations that had
occurred . The Petitioner unfortunately could not afford to retain those

attorneys. However, he should not be denied fair justice because of his lack
of   financial means .

     The evidence in this 5 2255 will clearly demonstrate that the Court
could not have any doubt that Mr . Scotton was wrongfully charged , convicted

and sentenced to the high end of the guideline.

     Therefore , after the Court's meaningful review of the record , facts and

evidence, the Court should make the decision in the interest of justice
to vacate this conviction and sent to dismiss, sent to a new trial or the
alternative to a re-sentence .




                                        (9)
    Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 22 of 49


                           ARGUMENT OF AUTHORITIES


    1 . WHETHER MR . SCOTTON 'S DENIAL OF EFFECTIVE ASSISTANCE BY AN ATTORNEY
              DURING PRETRIAL VIOLATED HIS CONSTITUTIONAL R IGHTS .

   The Sixth amendment guarantees a defendant the right to           counsel during

certain post-indictment-identification procedures . UNITED STATES v . WADE,

388 U.S. 218, 224 (1967). In WADE, the sixth amendment right to counsel
attaches to Hcritical stages'' of pretrial proceedings . 388 U .S. at 244:
See also POWELL v . ALA , 287 U . S. 45, 57-59 (1932)(period from arrangement
to trial is ''perhaps the most critical period of the proceedings'' where

defendant must have ''sufficient time to advise counseldl). Concerned that
a suggestive pretrial lineup would lead to the conviction of an innocent

person , WADE , 388 U .S. at 288-29 .

   Here in this case, the Petitioner asserts that the Court appointed
attorney provided the Petitioner with the barest of legal assistance which

proved to be totally inadequate in his defense . Investigation work not
carried out proficiently to explore the full extent and truth of the facts
                                                                                    ,

lack of trial preparation : failure to inform the Petitioner he was entitled

to obtaine a crucial witness testimony by means of a rogatory letter .

The attorney's ineffectiveness caused prejudice and deprived the Petitioner
of a fair trial. The attorneys failed to obtain legally relevant facts

from the Petitioner to use, failed to pursue leads provided by the Petitioner
and failed completely to garner corroborating evidence for the Petitioner

to use to dispute government claims .

   The record of this case clearly show the attorneys omission and failure

to exercise the skills and judgment of a competent criminal defense attorney.




                                        (10)
    Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 23 of 49

They did not act in a competent manner because inadequate investigation

took place , and discovery was not reviewed . In fact, during trial the

government introduced spreadsheets as evidence which the Petitioner objected
to , and stating that they were never provided to him . See , D .E .-511 :126-

  127-128-129: D .E .-470:92-93-94: D .E.-470:104-105 . The government alleged

they were provided on the discovery cds.

   The attorneys incompetence was prejudicial to the Petitioner and prevented
him from a fair trial. YASHINGTON v. STRICKLAND, 693 F.2d 1243, 1258 (5th
cir. 1992)7 GLOVER v. UNITED STATES, 531 U.S. 198, 201 (2001): WILLIAM
v. TAYLOR, 529 U.S. 362, 396-91 (2006): UNITED STATES v. BRADLEY, 42 Ohio
St. 3d 136 (1986)7 #&AYKEN v. JOHNSON, 118 F.3d 312, 318 (5th çir. 1992).
See also , exhibit 1.

   The Petitioner asserts he was denied the key elements including investi-

 gation and preparation during pretrial because his Court appointed attorneys

only offered as a defense , a plea agreement to avoid high prison time .

RUMMEL v. ESTELLE, 590 F.2d 103, 104 (5th cir. 1974)(it is important to
interview witness, adequate consultation, adequate investigation); GOODWIN
y . BALKCOM, 684 F.2d 794, 804-05 (11th cir. 1982): UNITED STATES v.
PORTERFIELD, 624 F.2d 122, 124 (10th cir. 1980); WOOD v. ZAHRADRICK, 578
F.2d 980, 982 (9th cir. 1978). See also, exhibit 2.
   The attorneys did not perform adequate essential tasks for defense .

It is impossible for any attorney to prepare effectively for a trial without
interviewing witnesses, reviewing evidence, records, discovery or any

required task . The attorneys in this case constantly advised the Petitioner

that he should plead guilty despite his wish to prove his innocence at

trial .

   The Petitioner requests this Court % a meaningful review of the case




                                         (11)
    Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 24 of 49


 record and the evidence attached in this motion . After inspecting the
 records and applying the required laws and rules , this Court could clearly

 determine that the Petitioner 's sixth amendment rights were violated .

 And since the violation is established , the Petitioner is entitled to

 relief without a showing of prejudice. COOPER v. FITZHARRIS, 586 F . 2d
 at 1328.

    The actions of the attorneys denied the Petitioner to a fair trial

because attorneys ineffectiveness precluded the fact-finder from independe-

 ntly judging the merits of the case. UNITED STATES v. CAMPBELL, 616 F . 2d
1151 a 1152 (9th cir. 1980) cert. Denied, 447 U.S. 910, 1000 S. Ct. 2998
       -




64 L. Ed. 2d 861 (1980). Not one single motion was filed by the attorneys .
See exhibit 3 . The attorneys misplaced the Petitioner 's discovery , evidence ,
personal f iles and documents . Numerous crucial evidence was misplaced

and lost including Osvaine Duarte letter and video .

   Other inmates constantly came back from the Court house to inform the

Petitioner that an unidentified female had been seen shuffling through
the Petitioner file boxes which was 1eft by attorney Adelstein in the

Court house . The Petitibherds files were left unsecured in a cell holding
block at the Court house . Magistrate Judge Mattewman instructed the attor-

 ney to immedlqtely       turh    over al1 the case files to the Petitioner
at FDC Miami . instead , the attorney droped-off a1l unsecured files and docu-

 ments in open Court which later was placed in a l'nlnf
                                                      d
                                                      'l
                                                       % cell . Numerous inti-

lllate photos Prrrn petitioner 's wife Ailyn Mollinedo were taken from the
                                                        J
box as 1ell aé 2a fmn
                    ''1# photo album including numerous images that could clearly
establish the reality of the Petitioner '>'parrr
                                               i.age .

   Here in this 5 2255, the Petitioner has sufficient evidence to meet




                                      (12)
    Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 25 of 49


the initial burden of prejudice and inadequancies in counsel performance
   how it affected the outcome at trial. WOOD v . HARDNICK , 578 F .2d 980 ,

982 (4th cir. 1978): WASHINGTON v. STRACKLAND, 693 F.2d 1243, 1258 (5th
cir. 1982).
   The Petitioner was denied the right to have honest and effective assistance
Consequently , he was rendered no possibility of a proficient and effective

defense as he was forced to represent himqelf.        ZAKRZEWSKI v . MCDONOUGH,
490 F.3d 1264, 1267 (11th cir. zoo7ltquoting IDEM.CAM v. GOFN, 761 F.2d
1549, 1551 (11th cir. 1985)).
   The U .S. constitution sixth amendment guarantees to an accused in criminal

proceeding effective assistance of counsel . The right to counsel is so

precious that it cannot be denied without violating those fundamental

principles of liberty and justice which 1ie at the base of a11 the civil
and political institutions. KIMMELMAN v. MORRISON, 477 U.S. 365, 375 (1986);
MCMANN v. RICHARDSON, 397 U.S. 759, 771 (1970)7 POWELL v. ALABAMA, 287
U.S 45, 53 S. Ct. 55, 77 L. ed. 758 (1932). A defense counsel must do
his utmost to bring his legal acumen to bear on behalf of the defendant;

keep the defendant fully informed of developments in the case and consult

with the defendant on a11 major decisions to be made; conduct a reaso-
nable investigation which should include contacting potential witnesses;

prepare adequately and professionally for trial; and the bottom line,

serve as a vigorous and devoted advocate of the Petitioner 's case . U .S . EX

REL. PARTEE v . LANE, 926 f.2d 694, 702 (7th cir. 1991). And those rights
extends to appeal. EVITTS v . LUCEY , 469 U .S . 387, 406, 83 L . Ed . 821,

105 S. Ct. 830 (1985): DOUGLAS v. CALIFORNIA, 372 U.S. 353, 83 S. Ct.
814 (1963).




                                       (13)
        Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 26 of 49


    The Petitioner contends that on many occasions, he advised the Court

 that he did not wish to represent himself and requested the Court to appoint

 a lawyer that could truly lend him effective assistance . The Court failed

 to do this . The Petitioner asserts that he never made a voluntary decision

 to represent himself, rather, he was forced to do so by lack of the correct

 support . Hence, the conviction and punishment of imprisonment in this

case is invalid because the U .S . constitution guarantees a lawyer to a
person brought to trial . And the waiver of attorney must be independently
found in the structure and history of the U . S . Constitution . See FARETTA

v . CAL IFOR N IA , 422 U .S . 8 06 , 83 2 , 9 9 S . Ct . 25 25 , 45 L . Ed . 2d 562 (1975).
    -               -                                                        - .   -



The Supreme Court observed in other cases that where a defendant vehemently

asserts his rights to self representation , it is not truly a case of a

constitutional waiver of rights;           is a decision to assert one constitu -
 tional right       instead of another . MARSHALL v . ROGERS, 133 S . Ct. 1446,

1449, 185 L. Ed. 2d 540, 544 (2013)7 EXREC. KONIGSBERG v. VINCENT , 526
F.2d 131 (2nd cir. 1975).
        The Petitioner did not ever unequivocally invoke his Sixth amendment

right to self representation by simply rejecting the representation of the
Court appointed Adelstein, with whae iconflict was clear and which seriopply-
infected the Petitioner 's case . In fact, during the hearing in July 2013

the attorney threatened to send the Petitioner to hospital : H...If we end

up in a fight , one of us will go to a hospital and I assure you that will
not be me'
         *'

        The breakdown of communication and conflict between the Petitioner

and attorney Adelstein began in the early stage when he was appointed .

This continued after the attorney together with bondsman David Rodriguez

took $16,000.00 of the Petitioner's family's money with promises                       securing




                                          (14 )
     Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 27 of 49


 a $100,000.00 nebbia bond . The attorney never filed any motion to the Court
 and the money was never recovered . David Rodriguez was later arrested ln
 2014 and charged in Broward County with the offense of 3rd degree theft
and sentenced to 5 years probation and ordered to pay restitution to al1
victims including the Petitioner 's family . See STATE OF FLORIDA v . DAVID

RODRIGUEZ, 14014433CF10A : See also ROGERIO CHAVES SCOTTON v . ADEL STE IN ,

062013CA017359A, (FLA Clr. CI JULY, 19 2013). See also, exhibit 4 .
     Then , instead of withdrawing the attorney completely from the case ,

the Court abused its discretion &nd ordered the attorney to continue in the

case as a stand by attorney . The Court then repeated the same error by

withdrawing Adelstein as stand-by attorney and returning attorney Chantel
Doark with whom there had also been conflict .

     To compel the Petitioner who was charged with a federal crime to undergo
a pretrial with the assistance of an attorney with whom he had became embro -

 iled in irreconcilable conflict was to deprive him of the effective assista -

nce of any counsel whatsoever . BROWN     .   v CRAVEL, 424 F.2d 1166(9th cir.1970).
    In most cases, a claim of ineffective assistance of counsel                         analyzed

under the framework set forth in STRACKLAND v . WASHINGTON, 466 U.S . 668,

687 (1984), which requires a defendant to show a ''reasonable probability
that but for counsel 's unprofessional errors , the result of the proceeding

wou ld have been different .'' Id At 668 , 694 . However , where the records
suggested or is clear that a defendant has been completely ''denied counsel

at a critical stage'' of a criminal case , his substantial rights was violated .
    Both , the Supreme Court and the Appeal Court have recognized that such
c laim&should be analyzed under UNITED STATES v . CRONIC , 446 U .S . 685, 694-

 696 (2002 ); HUNTER v . MOORE , 304 F .3d 1066, 1069-1070(11th cir. 20 02 ).
                                                                        .   -   -   -   -   -




The Petitioner needs no reason hereby to specifically show prejudice when
he was completely denied counsel at a critical stage in his case is Hso


                                        (15 )
     Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 28 of 49


fundamental'' a right-so essential to any fair proceeding-that its complete

denial is never harmless . CHAPMAN v. CALIFORNIA , 386 U .S . 18# 23 N.8 (1967).

In fact the Supreme Court held in CRONI that such circumstances Hare so

likely to prejudice the accused that the cost of litigatipg' their effect
in a particular case is unjustified.'' 466 U.S. at 648. The denial of counsel
at any critical stage of a proceeding renders the proceeding inherently
Hunfair.'' Id at 659 .

    The Petitioner requests the Court to meaningful review of a11 facts ,

records and evidences in this motion as -11 H the entire case . And with
the required urgency to avoid this crn tinued unfair process which has 1ed

to a miscarriage of justice.
    The Petitioner is prepared for the expansion of the record and for

the return to the Court in Miami, Florida before a neutral magistrate judge
for an evidentiary hearing on the issues raised hereby in and other factual

discrepancies currently in the case at bar . The conviction should be vacated .



     II . WHE TH ER AP PEAL A TTORN EY IN EFFECT IV ENE SS AN D CONFL ICT OF INTER EST
          PREVENTED MR . SCOTTON FROM SUBMITTING VALTD CLAIMS FOR THE COURT
          OF APPEALS , VIOLATED HIS CONSTITUTIONAL AND DUE PROCESS RIGHT


    The Petitioner contends that upon receiving his term of sentence , the

Petitioner asked attorney Jason Kreiss if he knew any good appeal attorney .

In response Mr . Kreiss gave the name of two lawyers. One included attorney
Richard Klugh . Mr . Kreiss further mentioned that the Petitioner should

pray that the Court appointed to him attorney Richard Klugh to appeal his
case. The Petitioner didn 't pray as suggested , however on May 28, 2014,

the Court appointed Richard Klugh to appeal the Petitioner convictiön .




                                        (16 )
    Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 29 of 49


    The Petitioner asserts that he met with Richard Klugh on one occasion

in F .D .C . Miami for 4 minutes to inform         the Petitioner that he was

appointed to the case to provide legal assistance during the direct appeal.

The appeal attorney further asked the Petitioner what he had done to get
Judge Rosenbaum so Angry to give the Petitioner such a harsh sentence .

    The evidence hereby attached and the case record will clearly show

that the appeal attorney failed to inspect important documents and evidence
provided by the Petitioner . Discovery cds, case files and trial material

was delivered to his office by the Petitioner 's family . The attorney failed

to correct errors mentioned on the trial transcripts by failing to request

the verbal audio recording , also givingthe Petitioner misleading information
that in ''F ederal Courts there are no audio recording; of trial trancripts .

Seee exhibit 5.

    The attorney misled the Petitioner during the entire course of his

direct appeal . He promised to       review the brief draft from the Petitioner ,

(2) insert the Petitioner 's claims in the final brief,           allowed the
Petitioner to review the final brief for approval before filing and

to file a motion to release pending appeal as was requested by the Petitioner

on many occasions . See , exhibit



     A) FAITJmETO FILE A MOTION TO RELEASE PENDING APPEAL

    On many occasions the Petitioner requested the appeal attorney to file
a motion to release pending the resolution of the appeal since the Petitioner

was incarcerated over 25 months and since his appeal has raised substantial
questions of the law and facts.




                                       (17 )
    Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 30 of 49


The attorney misled the Petitioner by failing to file. See exhibit 5.

    On July 9, 2014, attorney Cynthia Rodriguez who claimed to work with

Richard Klugh , came to F .D .C. Miami . The Petitioner provided the attorney

with all discovery cd 's given by the government which were blank .
    The Petitioner send a letter to Klugh on October 25, 2014 . In this

letter, the Petitioner requested the attorney for the verbal audio recording

of the trial because the trancript was missing information and was innacurate .

The attorney responded on November 3, 2014 and informed the Petitioner

that in federal Court, there are no audio recordin> of trial . See exhibit

  (attorney letter date 11/3/2014).
    On November 17# 2014, the Petitioner sent to attorney Klugh a brief
appeal and a motion for bond which the Petitioner himself had drafted .

    On December 2, 2014, the attorney replied and informed the Petitioner

that he would prepare a bond motion and send it for the Petitioner to review .

Once completed, he would file said motion. See, exhibit 5 (attorney letter
date December 2, 2014).
    On January 20, 2015 , the Petitioner again requested the attorney to
file a motion for bail and to include other issues on the brief . Attorney

Klugh claimed now that his first priority       was to file the brief ànd once
filed he would filed then file the böhd motion . The atto rney furtthev mendioned
                                                                             -



he had   'received the Petitioner 's edits on the brief and would reply

accordingly , which he never did .

     On September      2015, the Petitioner sent another letter to the attorney
who responded on September 25, 2015. In the response, the attorney now
suggested that it was not a good idea to seek bond until at least the Court

granted an oral argument in the case . This was despite many previous occasioœ




                                      (18)
     Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 31 of 49


he promised to file the motion. See, exhibit 5 (attorney letter Spptekber
25, 2015 .
     The right to consideration of bail pending appeal exists after conviction .

UNITED STATES v. BALLONE, 762 F .2d 1381, 1382 (11th cir. 1985)(per curiam)
 (defendants Hrightn to bail pending appeal could not be assessed until
after their convition). Thus, attorney Klugh violated this right and ïisled
the Petitioner on many occasions during the appeal . Bail pending appeal

need not determine whether it is likely that the defendant actually will
prevail. UNITED STATES v . GIANGOLA , 754 F . 2d 898, 901 (11th cir. 1995).

Hence, despite the many times the Petitioner asked the attorney to file

a motion for bail , the attorney promised to file       but failed to do so .
    The Petitioner attempted to file a motion to release pending appeal

as a pro se to this Court as well as to the appeal Court . Both were denied

and the Courts suggested that he should ask his attorney to file said motion .

See, exhibit 6 (Scotton 's motion requesting release).
    The Petitioner asserts that he asked his attorney on several occasions

to file   a motion for release . However , the attorney failed to do so .

Consequently, the Petitioner 's due process was violated . Had the Petitioner
been granted release , he could have gained numerous exculpatory evidence ,

reviewed documents and added his input to the appeal brief .



    M ) FATLED TO REVIEW EVIDENCE, CASE FILES AND DISCOVSFY CD C@.

    On Y any occasions after the appeal Court confirmed the conviction,

the Petitioner asked the attorney to return a11 the case evidence , files

and discovery cd ds . The attorney claimed that he didn lt have any of those

materials which clearly suggested that the attorney had never reviewed
    Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 32 of 49


anything prior to filing the appeal brief . The attorney only relied on

the transcripts of trial to appeal this case. See exhibit 7tletter to the
attorney and motion to compel).
    The evidence hereby attached demonstrates clearly that counsel 's perfor-

 mance fell below an objective standard of reasonableness, and his performan-
ce prejudiced the Petitioner, resulting in an unreliable or fundamentally
unfair outcome of the appeal. STRICKLAND v . WASHINGTON , 466 U .S. 668, 687-

88 (1984): GLOVER v. UNITED STATES, 531 U.S. 198, 201, 204(2001)7 VIRGIL
v. DRETICE, 466 F.3d 598, 613 (5th cir. 2006): GENTRY v. SERVIEF, 547 F.3d
838, 851-52 (7th cir. 2010).
    Therefore , the attorney failed to review important documents and the

accuracy of the spreadsheets prior to filing the appeal brief . His failure

to inspect and review discovery , evidence and documents clearly demonstrates
failure to provide effective assistance during the appeal. The Petitioner 's

constitutional right    to have an effective and competent attorney was violated ,

     ç) FAILURE TO INCLUDE BRADY ISSUE IN THE APPEAL #FTNF.

        PRETRIAL REPORT REFERRED BY ICE .

    On April 2, 2012, magistrate Judge Snow 's detention order states that

               . . . '
                     'According to information from ICE , Scotton
               was currently appealing his 1-485 application .
See exhibit 8 .

    During the detention hearing on March 29, 2012, the prosecution showed

to Court an undated and unsigned letter purporting to be a final decision
from the U .S . Citizenship and Immigration services denying the Petitioner 's

1-485 application . See exhibit 9 . However , /9 decision from immigration
was issued #-t the time .
       Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 33 of 49


    On numerous occasions, the Petitioner requested the document that shoved

the Petitioner was appealing his 1-485 applieation mentioned by ICE at the

time. However, the Petitioner was never provided with any such document

by his attorneys or the Court .

    The Petitioner asserts that he requested attorney Klugh to include

this BRADY violation in the appeal brief which as such , was only used with
the intent to deny the Petitioner 's right to bail. Hence , the attorney
failed to appeal this m isconduct and to compel the BRADY material.


       2 . PETITIONER A-FILE .


    since the early stages of this case, the government alleged that the

Petitioner's marriage was a sham aïn Uxu# it is n* > element of the alleged
offense in the ind ictment. Eventually the Petitioner was charged with provi-

ding    false statements pursuant to 1001(a)(2)          count 28 and 29.
    Attorney Klugh was requested to compel the entire A -File and appeal

this BRADY violation because the A-file may have contained exculpatory

evidence that the government had never handed over to the Petitioner ,
thereby undermining his due process rights and undermining the integrity

   the trial. MONROE v. ANGELONE, 323 F.3d 286, 300 (4th cir. zoo3ltùndisclosed
evidence favorable to accused because it could have been used to impeach

government witness); UNITED STATES v. BLAND, 517 F.3d 930, 934 (7th cir.
zoo8ltmaterials related to accused would impeach credibility).
    The governmen t withheld information contained in the A-File pursuant

to 5 U.S.C. 5 552(b)(3), (b )(6), (b)(7)(C) and (b)(7)(e).
    Because the government accused Scotton as set forth in count 28 and

29, he is entitled to have a complete record of a11 documents from his A-Fi11e
    Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 34 of 49


which was redacted . See, exhibit 10. Nonetheless, Klugh failed to include?

this BRADY violation and to compel the unredacted A-F11d .


    3. SUPPRESSION OF DUARTE CONFESSION VIDEO AND LETTER .


    The Petitioner contends that he requested his appeal attorney to include

in his appeal brief that the government had suppressed OSVAINE DUARTE video

and letter where Duarte testified that the Petitioner was not one of his

clients.
    Osvaine Duarte was the owner of Brasil USA import & export which provided

shipping services for the Petitioner . Although the original letter--had-
 been--suppressed , the Court had seen Duartes ls confession letter , knew

that he was living in Atlanta and had provided shipping services through

his company Brazil USA Import & Export. See EXHIBIT lltDuarte letter and
Court transcript).
    The appeal attorney failed to include this BRADY material in the appeal

BRIEF, had the Petitioner been allowed to introduce this material and/or
Mr . Duarte testimony under a letter rogatory , the outcome of the trial

could well have been different.


     4. BLANK DISCOVERY CD 'S.


    During the trial the government introduced numerous spreadsheets conta-

 ining thousaàd of packages allegedly shipped by the Petitioner.

    The Petitioner objected to the introduction of the spreadsheets because
the discovery CD 's were blank . D .E .-511:126-127-128-129) D .E .-470 :92-93-
94 ; D .E .-470 z104-105. Therefore , the Petitioner was not afforded the oppo-

rtunity to inspect those spreadsheets for accuracy r. See, exhibit 12.




                                       (22)
     Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 35 of 49


     The Court requested the government to produce further cds to the Petitio-

 ner during the course of trial , which the government provided . These new
 cd 's only contened those spreadsheets which new evidence shows were not

 accurate , were made by the government after witness testimony and didn 't

ihelûded m # audited and verified business records. There are no documents
from those thousands of packages shipped all over the U .S . to Brazil or

any link to the Petitioner. See , exhibit 12.

    Despite the previous trial judge mentioning on record that the government
had given those business records to the Petltioner, the cds *nm fnt t/Y hV =t.
                                                k

Witnesses have testified that they didn 't exist . The appeal attorney never
inspected those cd 's which were provided to him or inspected the accuracy

of the spreadsheets . His failure to submit this BRADY violation on the

appeal brief violated the Petitioner 's constitutional rights to an effective

appeal.



    5 . B&H PHOTO VIDEO INFORMATION .


    The government alleged on the indictment that the Petitioner had created

an unauthorized FedEx account under B&H Photo Video company which is a New

York based company .

    The appeal attorney Tailed       % review the case file before subm itting

the appeal brief . Therefore , providing ineffective assistance to the Petitioner

where he had made available newly discovery evidence that (1) shows that
the government knew that B&H Photo FedEx account was a legitimate account

opening     2001 and before the Petitioner opened his internet business,

(2) that B&H Photo had a similar website to the Petitioner which included
the Portugese language and shipping packages to Brazil as well. See, exhibitl3 .




                                         (23)
    Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 36 of 49


    The government failed to provide the document that any account was

created or used without authorization under B&H Photo. And the witnesses
testified that they knew the account was legitimate . D .E .-475:38-397 D .E .-

 475:28-29. See, exhiblt 14. (motion to request new trial). On the spread-
 sheet , the government mentioned 73 invoices under B&H Photo account . However ,

those invoices were repeated on 93 occasions . This particular spreadsheet

had a total of 1104 invoices repeated . See, exhibit 15.
    The appeal attorney knew that a prosecutor has a duty to provide a1l
evidence to the Petitioner . BRADY V . MARYLAND , 373 U .S . 83, 83 S . Ct. 1194,

10 L. Ed. 2d 215 (1963). However, he failed to compel those materials as
well as failing to review the evidence prov ided to him by the Petitioner ,

so he could appeal the case effectively .


     D) FAILED TO APPEAL RIGHT TO CALL WITNESS.

    Before trial , the Petitioner submitted % de Court a witness             list which
                                                                       . 1


after the Court conducted examination and asked the Petitioner what each

juror would testify, the Court granted 29 witness. Four (4) weeks into
the trial, the previous judge stopped the trial for one week. The following
Friday, the Judge called on the Petitioner and Court to review the list
of witnesses again after those initial witnesses had been approved and

subpoend . Thus, the Court recused from the list 29 witnesses, the Petitioner

was denied the right to call further witnesses and consequently his consti-

 tutional rights were violated . Had the Petitioner been allowed to call

al1 the witnesses, the outcome of the trial could have been different .
    Nevertheless , Klugh failed to include the issue in his appeal brief

as requested by the Petitioner . See exhibit 16 .




                                       (24)
     Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 37 of 49


     E) GTGLIO VIOLATION

     1. IMMUNITY TO WITNESSES .


    Pursuant to 18 U.S.C. 5 6001 and 5 6003, immunity in exchange for testi-
 mony to the government can only be obtained if granted by the Court . UNITED

STATES v. DONAHERY, (19761 CAS FLA) 529 F.2d 831, and the government must
provide a defendant with a list of all witnesses that were granted immunity

before trial. UNITED STATES v . BRIGHTON BLDG & MAINTE;ANCE C0.,-/34 F.
Supp. 222: 1977 U.S. (1977).
    During the Petitlonér's cross-examination of his wife Ailyn Mollinedo,
he asked the witness whether she had received immunity . D .E .-474:22 . The

government objected and the Court called side-Bar. D.E.-475:22.
    The government denied giving the Petitioner 's wife immunity despite

the Petitioner introducing a letter which was attached to the plea offered
showing that immunity was provided . D .E .-474 :22, D .E .-474:23 . After the

government concluded her redirect the Court callèd the partiqs:      to another

side-bar. At this point the judge again engaged in correcting prosecution
misconduct, by allowing the prosecution to ask leading questions of the

Petitioner 's wife so she would agree with the immunity offer . Despite that
the government had already denied giving the witness immunity, the Court

allowed the jury to believe that immunity was granted . D.E.-474:66. See
also, exhlbit 17 (government letter and contradictory statement made by

the judge).
    Here , prosecutors duty to present a1l material evidence before trial

was not fulfilled . Such conduct constitutes a violation of due process

and this case requires a new trial . NAPUE v . ILLINOIS, 360 U .S . 264, 3

L. Ed. 3d 21/, 83 S. Ct. (1763).




                                       (25)
     Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 38 of 49


     The Petitioner v igorously cross-examined his wife seeking to discredit

 her testimony by revealing the possible agreement or arrangement for leniency
 in any possible offense . The trial Court did not undertake to resolve the

 conflict of the prosecution letter mentioning immunity and the fact that the
 Petitioner was still legally married to Mollinedo and still is today .

 Rather , the Judge abused her discretion to proceed with her theory for

 the jury that Mollinedo hadl been granted immunity.
     The Petitioner asserts that his due process rights were violated
                                                                             .   This
particular immunity was not requested from the Attorney General or desi-

 gnate office of the DQJ . Thus, the Court abused its discretion in telling

the jury that immunity was provided. UNITED STATES v . DODDINGTON , 822 F.2d
818, 1987 U.S. app. 885 (1987). However, the record and the statements
mentioned by 50th , the prosecution and Ms . Mollinedo reflected different
facts from what the Court allowed the jury to believe . UNITED STATES v.
HOOK , 848 F .2d 785 : 1988 U .S . appx . Lexis 7966 , 88-1 (1988). If immunity

was granted in this case, the immunity did not follow justice department
guidelines and consequently violated the Petitioner 's constitutional rights .

    The Petitioner requested the appeal attorney to include on the appeal
brief this serious GIGLIO violation and abuse of discretion . The attorney

failed to do so and consequently the Petitioner was denied his substantial
rights .


     2. RECRUIT CONVICTED INMATE .


    The government in this case         attempted in different ways to force

the Petitioner to plbad guilty , by   threatening friends , w itnesses, and
creating a theory that the Petitioner was looking to kill the FBI agent




                                        (26)
    Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 39 of 49

and his wife.
    The Petltioner contends that John Jackson , ex-cell-mate was recruited
by the government with sole purpose to sabotage the Petitioner 's defense .

ànd to suppress exculpatory evidence      which was given to the FBI agent

Vanbrunt by Jackson himself . Thus, after the government was informed by

Jackson who the Petitioner intended to bring into Court to testify , three

(3) defense witnesses became government witnesses. Carla Felini, ex-fiance,
Ailyn Mollinedo , currently wife , and Renata Mezentsef , ex-employee . Despite

the detention a avM wM + m ++7*n*1 fnt the Petitioner must be separafed from
persons vaiting or servïng sentence , *he Petitioner was conveniently put

in a cell with a professional sn itch JOHN JACKSON .
    Janckson was sentenced to 97 months imprisonment for medicare fraud ,

with a restitution over 11 million dollars and served only 22 months before

being released. See, exhibit 8 and 18 (detention order and jackson 's rule
35s).
    Recently, the Petitioner 's family received two separate calls from
two inmates , Marco Correa and Gerson Gomes. Those inmates stated that Jackson

had provided assistance to the government in the Petitioner trial defense.

In fact, those inmates also stated that other snitch inmates were involved
in creating another case alleging that the Petitioner wanted to kill the

FBI agent and his wife .
    Correa stated that Jackson took numerous items of evidence from the

Petitioner 's cell possessions. In fact, the record shows that the Petitioner
stated before that the Duarte Letter and video were taken by the government.

This type of prosecutorial misconduct justifies the vacation or dismissal
of the case where it so infectlsl the trial with unfairness as to make
the resulting conviction a denial Y -A process. DARDEN v. YAIWRIGHT, 477
     Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 40 of 49


U.S. 168, 181 (lg86ltquoting DONNELLY v. DECHRISTOFORO, 416 U.S. 637, 643
(1974)) The evidence hereby mentioned as exhibit 18 shows that the FBI
agent was in communication with Jackson . Despite the false and misleading
statement given by the agent himself, he went to the Petitioner 's mothers

house and took the DVR which contain+d..the Sex Video. See, exhibit 1#
(motion requesting new trial). see also, exhibit 18 (FBI unfiled document).
    The Petitioner 's appeal attorney was provided with this evidence and

requested to include this prosecutorial misconduct on the appeal brief .
That along with the Court 's abuse of its discretion in regarding immunity

to Mollinedo . The attorney failed to include those issues in the appeal
and he therefore con sequently violated the Petitioner 's constitutional

rights .


     F ) (IOVERNC YT P3N JTJX TD TIMONY
                                 -




    The Petitioner requested the appeal attorney to include in the appeal

brief the government perjury testimony and the attorney failed to do so.

     1 . FBI AGENT VANBRUNT .


    On numerous oecasicns during cross-examination , FBI agent Vanbrunt provided

to Court perjury testimony.          fact the record clearly shows that the agent
called on the petitioner 's witness       to prevented him from testifying .

D.E.-478:56. See also, exhibit 19 (motion rule 33(b)).
            1
    Mr . Wolfsfree unhampered choice to testify was interfered with by agent

Vanbrunt 's illegal and unauthorized phone call to the witness .

            SCOTTON: Did you receive any call from FBI agent
                     Roy Vanbrunt?




                                         (28)
      Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 41 of 49



                              WOLF : I have received calls from people regarding this
                                     case in the last week or so , yes.
                              SCOTTON : And the FBI called you too?
                              WOLF : I do believe the FBI call me.
                              SCOTTON : ...Hca11s that you have received the last couple
                                         of day'' of prosecutor or FBI agent?
                              WOLF : ''Roy Vanbrunt. I receive a call by the FBI agent by
                                       the name Roy .''
                              SCOTTON : And did you talk about the report?
              WOLF : Yes I did .
D .E.-480:84-85-86-87-88.


     The agent denied ever                   ' to Mr . Wolf. D .E .-478-56 . Given this clear
and dramatic evidence of prosecutorial misconduct this conviction must

be vacated and set aside.

    Despite the Judge 's allegation that the Petitioner requested the govern-

 men:
    -' tp-çontqçt-
        JLJ.( - L.Z..
    - -. -. . - -.  L- ...J..
                         -.
                                      lyr. Wolf to facilitate his apparance in Court, there is
                            7---'t.-- è-
                                  -



no evidence at all to support this statement . Rather , the Petitioner had
his investigator and stand-by attorney contact.                       the witness . See exhibit

20. Nevertheless , the FBI agent peU greq. himself under oath and prevented
                                                  .



the Petitioner hmm                     ' .
                                         1* W >       . Consequently his due process was violated .


    2. FRD BO9K>.    -




    On March 29 during the detention hearing , the government introduced

a document purporting to be from immigration                         ' dat .the Petitioner 's
1485 application was denied . The document contained no date , no officer 's

name , any government seal, no signature or the Petitioner 's correct name
an d address. Two days later on Saturday , March 31, 2012, the Petitioner/é

1485 application was officiàllk denied. In short, the undated unsigned letter
introduced in court on March 29, 2012 purporting to be a denial, had no




                                                         (29)
     Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 42 of 49


no validity. wiaan the Petitioner objected e -g% undated letter during in
another hearing in late June 2012 the government then claimed that the

letter was a draft only .
     The Petitioner 's immigration interview was held on August 31, 2011 .

During the trial government witness Fred Books testified that he was trans-
 fered to Kendall Field Office shortly after Scotton 's interview toward

his 1-485 application . D .E.-473:52. Later he changed his testimony now

saying that he was immediately transfered to Kendall Field Office . D .E .-
 473:62. Books testified that the letter introduced on March 29 , 2012

was a draft made from numerous templates from his computer . D .E .-473-60.
Books could not give the date that he drafted the letter or to who he

had emailed such letter . D .E .-473:49: D.E.-473 :53-547 D .E.-473:60-61.
    The government failed to provide the email fnt 'Y TNS officer sent to

the Oakland Park Office with the draft letter or any evidence when h
                                                                   it was
created and sent or Gu t when such was requested from Books .

    The Petitioner contends that exhibit 21 shows that on November 18 ,

2011, Fred Books provided to FBI agent Vanbrunt, the VHS tape containing

the Petitioner 's immigration interview . See exhibit 21. This document

shows that the transaction took place in the Miami Field Office rather

tham oakland Park field Office Where the Petitioner 's interview took place
or even Kendall Field Office where Books wàà allegedly working . There is no

evidence that a proper warrant was requested or approved by the Court
for the VHS tape . Rather the VHS tape was taken from the Oakland Park

Field Office by an employee who no longer worked there .
    When asked during the trial , Books denied giving the tape to the FBI
agent . D .E .-473 :49; D .E .-473 :94: D .E .-473:-64 . However , the evidence hereby




                                        (30)
    Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 43 of 49


attached clearly shows differently. By reviewing the record and exhibits

evidence, the Court will see that Books testimony is perjury and bears
no relation to the truth . D .E .-473:49: D.E .-473:52-53-54-55 ; D . E .-473 :597
D .E .-473:74 7 D.E .- 473 :83: D .E .-473 :85: D.E .-473:94-95-96-97 .

    This prosecutory misconduct and perjury testimony is clear evidence
that should ultimately leads to the conviction being vycated and sent for

a new trial .

     G) FAILED TO CHALLENGE ALLEGED OFFENSE UNDER MAIL FRAUD STATUTE
         PURSUANT T0 18 U.S.C. 5 133A.

     The government alleged crime comm itted by the Petitioner does not

fall. under mail fraud pursuant to 18 U.S . C. 5 1341. The Petitioner ran
a legitimate registered internet retail store throughout the Brazilian

community and Brazil,ç=m Y whom have ever been defrauded or lodéèd in
one complaint against him . The allegation however: states that the Petitioner
used FedEx , UPS and DHL shipping services without paying the shipping

costs. As such, it is no surprise that the jury was confused about this
entire prosecution and sought guidance from the Court as to what crime

had actually been comm itted . There was no explanation in response to

their questions addressed in a note. See, exhlbit 23 (jury note). See
also , UNITED STATES v . HEWERS, 729 F . 2d 1302, 1320 (11th cir. 1984)7 UNITED

STATES v. HASSON, 333 F.3d 1264, 1270 (11th cir. 2003).
    The problem here is a billing issue, which is a civil matter , not
a federal one . The charges bear no relation whatsoever to the acts that

the government allegedly accused the Petitioner .

     SUPPORT FACTS: The Eleventh Circuit holds that, ''It lhe mail fraud




                                         (31)
     Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 44 of 49


statute 18 U.S.C. 5 1341, does not define what constitutes a seheme to
defraud . In the absence of a statutory definition , the Courts have provided
a judicial framework for conceptualizing a fraud scheme.'' BRADLEY v. UNITED
STATES, 644 F.3d 1213 (11th cir. zollltciting UNITED STATES v. PENDERGRAFT,
297 F.3d 1198, 1208 (11th cir. 2002)('V tJhe meaning of such scheme to
defraud has been judicial defined''). In defining a scheme to defraud,
the judiciary did what congress could not effectively legislate bills
of attainder and ex post fact of laws.
     Congress 's abdication of its duty to define criminal conduct resulted

in the judiciary creating a typical-for-lawyers imprecise definition of
a scheme to defraud as a ''reflection of moral uprightness of fundamental

honest, fair play , and right dealing in the general business life of a

member of society.'' BRADLEY, 644 F.3d at 1240 (quoting GREGORY v. UNITED
STATES, 252 F.2d 104, 109 (5th cir. 1958): which in turn quotes HAMMERSCHIMATr
v. UNITED STATES, 265 U.S. 182, 188 (1924). In fact the judicial defines
a fraud as what     members of a jury believe is unfair.         paradigmic example
of vague; a definition that charges with each jury. More precisely, the
definition is even more amorphous, because the element 's defination really

is determined by what a panel of appellate Judges believe are the normative

concepts of fair play and honest dealing in a particular community or

trade .
    To be sure this system--all system--depends on the experience, intellect,

and common sense of human beings to decide uncertain facts. The hallmark

of facts is they can    at last theoretïcally be proved or disproved, and

minimally they must be subject to proof. The concepts of fair play and
honest dealing are more fluid and not subject to proof.
     In this case the Court could no more identify the boundaries of a




                                        (32)
          Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 45 of 49


fraud than congress could . Thus , the Court adopted notary and Hit dependsn

analysis, but transferred responsibility for defining the crime allegedly

to the jury. In fact the jury note has presented substantial doubts and
failure to finding the elements of crime which was alleged on the indictment .

See, exhibit 21. Thus, the judiciary's slippery definition had the effect
of kicking the can down the road to the jury. The jury now decides what
legislated fraud is: Whatever the jury believes is not morally upright
or is unfair or is dishonest, Although for first amendment concerns

may be all right for the finding facts to decide what something is when
Hthey see it .''

       Here in this case , the government failure to provide a proper , precise

definition of scheme to defraud invalidats thê fraud statutes as being
'
      f   'àbibiy   vague, forcing a jury to make a post hoc finding about what
      a scheme to defraud . Thereby , making argpably legal conduct criminal;
and more abstractly permitting 12 unelected-citizens-to-define-crim inal-

    conduct; and impermissible (unconstitutional) delegation of legislative
dNty.

      The Petitioner challeges his conviction under 5 1341 because it was not
''money or property '' within the meaning of the mail fraud statute . Rather ,

here in this case we have an alleged billing issue , in which the companies

failed to present the detailed business records or made any attempt to

collect any outstanding invoices from the Petitioner . UNITED STATES v .

LONEY, 959 F .2d 1332, 1337 (5th cir. 1992). Following the logic, the mail
fraud would not extend to a fraudulent scheme to induce a seller to sell

a product at a discounted but still profitable price because the seller

would not have made any profit at a11 but for the fraud . However , in this




                                            (33)
    Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 46 of 49


case, the government alleged that on 27 occasions the Petitioner shipped

27 packages under his own accounts or other      .   entitle/: accounts without
authorization and çau sed those packages     #/ #m delivered which allegedly
caused losses to the companies. During trial, the government displayed ',z;

packages which were alleged to be the 27 packages on the indictment . Those

packages were not mentioned on the spreadsheets, nor given any loss amount .

   is clear to see that those packages mentioned on the indictment by
the government were not actually accounted for or delivered , therefore

no loss could have occurred.

     The government failed to prove losses or mail fraud pursuant to 5
1341. In fact the amount derived from calculation is clearly in error.

     The Court used the face values based on anaudited and unverified repeat

spreadsheets and contradictory testimony .

    The Supreme Court has held in other cases that 5 1341 properly defined
a criminal scheme to defraud that involved bribes or kick backs . Thusy

the intent to defraud by causing mail to be delivered was incorrect and
does not fall in this case under section 1341 as nothing was ever illegally

mailed or sent by a private or commercial interestate carrier to obtain

money and property fraudulently . Whether those packages w/rê shipped from

the Petitioner 's own accounts or shipped under another without authorization ,

   is a billing issue that falls under civil law .

    Furthermore, the jury :L'nstructio'
                                      ns are invalid under 5 1341. YATES v .
UNITED STATES, 354 U .S . 298, 312 77 S . Ct. 1064, 1 L . Ed . 2d 1356.

    Pursuant to SKILLING v . UNITED STATES , 558 U .S . 130 S . Ct . 393, 175

L . Ed. 2d 267 (2009), the Petitioner 's conviction could not stay and the
indictment rested in part, on an improper construction of Hmail fraud ''




                                      (34)
      Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 47 of 49


 to defraud by causing mail to be delivered. See 18 U.S.C. 5 1341. Compare
 SKILLING where it is similar that infirmity is present in the case . He re ,

 the government and appeal attorney advised an interpretation of 5 1341
previously rejected by the Supreme Court's opinion in SKILLING.
      At the trial , the government renders the alternative theories of

money-or-property fraud and (2) a scheme to defraud. The government alleged
that the Petitioner used accounts under his own name to ship packages without

paying for the shipping services, or fraudulently creating accounts in

other entities names to ship packages under his own account , there is not

a finding factual element of crime under the mean ing of mail fraud . Rather ,

it is a billing issue . Whether other accounts were used or created without

authorization , still is a billing issue because those companies offered

different methods of payment for the shipp ing services . Whatever the se lected

method it is still a billing issue which could not be established under

5          in this case. YATED v. UNITED STATES, 354 U.S. 298, 312, 77 S. Ct.
1064, 1 L. ed. 2d 1356 (1957): SKILLING v. UNITED STATES, 558 U.S. 130
S. Ct. 393, 175 L. Ed. 2d 267 (2009)7 WEYHRAUCH v. UNITED STATES, 557 U.S.
129 S. Ct. 2863, 174 L. Ed. 2d 575 (2009); MCNALLY v . UNITED STATES, 97
LED 2d 292, 483 US 350 (1987).
     The Petitioner contends that he advised his attorney to challenge 5
     and include     the issue on the appeal brief . However , the attorney failed

to do so . Consequently the attorney violated the Petitioner ls conktitutional
rights .




                                       (35)
     Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 48 of 49

                                    CON CLU SION




     The Petitioner has endeavored to bring justice to his case and prove
his innocence for more than 5 years and has attempted to bring to the Court 's

attention multiple judicial error of law, misrepresentation of evidence,
contradictory and perjured testimony and abuse of discretion which combined,
caused extreme prejudice to the Petitioner, and 1ed to a verdict of guilty
for an alleged crime he did commit .

     Therefore, in the interest of justice, the Petitioner moves this Honorable
Court to grant an evidentiary hearing to examine his claims laid out in

this 5 2255.
     Following this review , it is envisaged that sufficient grounds will

exist to vacate and set aside this conviction which was based on inadequate

and unsubstantiated evidence, false and misleading testimony and prosecutorial

misconduct .



                                                   vdïly s mitted,
                                         OG     O C    ES     OTTO N
                                        RE NO: 99370-004
                                        D . RA Y JAME S C .F .
                                        P.O . BOX 2000
                                        FOLKSTON GA 31537




                                        (36)
       Case 0:17-cv-62428-KMW Document 1 Entered on FLSD Docket 12/11/2017 Page 49 of 49


                                  PROOF OF SERVICE



       I Rogerio Chaves Scotton, do certify that on this o 6/00 *n- 1/z o-z'v
  have served the attached application and memorandum of 1aw pursuant to

5 2255 (which is under the Petitioner constitutional rights) on the Southern
District of Florida in the above proceeding . I have served this motion via,

United States Postal Service (USPS) certified mail through, D. Ray James
C .F . legal mail .




                                                     ?


                                     .   '   * 4     ... <
                             ROG       CHAVE SCO     ON
                             REG NO : 99370-004
                             P .O . BOX 2000
                             FOLKSTON GA 31537




                                              (37)
